IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

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JAMES JOSEPH MEAGHER

The Grand Jury charges:

On or about January 7, 2024, in the County of Guilford, in the Middle
District of North Carolina, JAMES JOSEPH MEAGHER knowingly did
possess in and affecting commerce a firearm, that is, a Star Bonifacio
Echeverria .45 caliber handgun, having been convicted of a crime punishable
by imprisonment for a term exceeding one year, and with knowledge of that
conviction; in violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(8).

DATED: May 28, 2024
SANDRA J. HAIRSTON

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BY: JACOB D. PRYOR
Assistant United States Attorney

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A TRUE BILL: _

FORAPERSON ()

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